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                       Exhibit A
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                                                                         Jack London Market • 55 Harrison Street, Suite 400 • Oakland, California 94607




                                                                                                                                                           9                                  SUPERIOR COURT OF CALIFORNIA
Kazan, McClain, Satterley & Greenwood




                                                                                                                                                          10                                      COUNTY OF ALAMEDA
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                                                                                                                                                          11 AUDRA JOHNSON,                                        Case No.

                                                                                                                                                          12                    Plaintiff,                         COMPLAINT FOR PERSONAL INJURIES
                                        A Professional Law Corporation




                                                                                                                                                          13               v.                                      DEMAND FOR JURY TRIAL

                                                                                                                                                          14 JOHNSON & JOHNSON;

                                                                                                                                                          15 FOOT LOCKER SPECIALTY, INC.,
                                                                                                                                                             formerly known as F.W. WOOLWORTH
                                                                                                                                                          16 CO.;

                                                                                                                                                          17 MAC FRUGAL’S BARGAINS . CLOSE-
                                                                                                                                                             OUTS INC., formerly known as PIC ‘N’
                                                                                                                                                          18 SAVE CORPORATION;

                                                                                                                                                          19 RALPHS GROCERY COMPANY;

                                                                                                                                                          20 SAFEWAY INC., individually, and as
                                                                                                                                                             successor-in-interest, parent, alter ego, and
                                                                                                                                                          21 equitable trustee of THE VONS
                                                                                                                                                             COMPANIES, INC.;
                                                                                                                                                          22
                                                                                                                                                             TARGET CORPORATION;
                                                                                                                                                          23
                                                                                                                                                             THE VONS COMPANIES, INC.; and
                                                                                                                                                          24
                                                                                                                                                             FIRST DOE through ONE-HUNDREDTH
                                                                                                                                                          25 DOE,

                                                                                                                                                          26                    Defendants.
                                                                                                                                                          27

                                                                                                                                                          28 //

                                                                                                                                                               3152983.3
                                                                                                                                                                                                                                       EXHIBIT A
                                                                                                                                                                                                   Complaint for Personal Injuries
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                                                                                                                                                           1                        GENERAL BACKGROUND AND OTHER ALLEGATIONS

                                                                                                                                                           2                                                       I.

                                                                                                                                                           3               The Plaintiff: Audra Johnson is the physically injured Plaintiff. Her mesothelioma was

                                                                                                                                                           4 caused by exposures to asbestos, asbestiform fibers, and asbestiform talc – collectively referred to

                                                                                                                                                           5 herein as asbestos – for which Defendants bear responsibility.

                                                                                                                                                           6                                                       II.

                                                                                                                                                           7               The Defendants: All Defendants are listed in the case caption. The true names of the

                                                                                                                                                           8 Defendants sued as DOE’s are unknown to Plaintiff. Each Defendant was the agent, employee, or
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                                                                                                                                                           9 joint venturer of its co-defendants, and was acting in the full course and scope of the agency,
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                                                                                                                                                          10 employment, or joint venture.
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                                                                                                                                                          11                                                       III.

                                                                                                                                                          12               Alternate Entities: All Defendants are individually liable for their own defective products
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                                                                                                                                                          13 and wrongful conduct; and some Defendants are liable for the defective products and wrongful

                                                                                                                                                          14 conduct of their alternate entities. Each such Defendant is liable for the torts of each of its alternate

                                                                                                                                                          15 entities because:

                                                                                                                                                          16               •      there were express or implied agreements between the companies to transfer and
                                                                                                                                                                                  assume the liabilities;
                                                                                                                                                          17
                                                                                                                                                                           •      the transactions between the companies amounted to a consolidation or merger;
                                                                                                                                                          18
                                                                                                                                                                           •      the purchasing company is a mere continuation of the seller;
                                                                                                                                                          19
                                                                                                                                                                           •      the transfer of assets to the purchasing company was for the fraudulent purpose of
                                                                                                                                                          20                      escaping liability for the seller’s debts;

                                                                                                                                                          21               •      strict products liability was transferred because (i) there was a virtual destruction of
                                                                                                                                                                                  Ms. Johnson’s remedies against the original manufacturer caused by the
                                                                                                                                                          22                      successor’s acquisition of the business, (ii) the successor has the ability to assume
                                                                                                                                                                                  the original manufacturer’s risk-spreading role, and (iii) it is fair to require the
                                                                                                                                                          23                      successor to assume responsibility for defective products that was a burden
                                                                                                                                                                                  necessarily attached to the original manufacturer’s good will being enjoyed by the
                                                                                                                                                          24                      successor in the continued operation of the business; and

                                                                                                                                                          25               •      the companies are alter egos because (i) there is such a unity of interest, ownership,
                                                                                                                                                                                  and business operations between the companies that their separate personalities do
                                                                                                                                                          26                      not in reality exist, and (ii) there would be an inequitable result if the torts in
                                                                                                                                                                                  question were treated as those of one company alone.
                                                                                                                                                          27

                                                                                                                                                          28 / / /

                                                                                                                                                               3152983.3                                                 2
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                                                                                                                                                           1               The identities of the Defendants and their alternate entities are as follows:

                                                                                                                                                           2                     Defendant                                                    Alternate Entity
                                                                                                                                                                  FOOT LOCKER SPECIALTY, INC.                                        F.W. WOOLWORTH CO.
                                                                                                                                                           3
                                                                                                                                                                  MAC FRUGAL’S BARGAINS . CLOSE-OUTS INC.                            PIC ‘N’ SAVE CORPORATION
                                                                                                                                                           4      SAFEWAY INC.                                                       THE VONS COMPANIES, INC.

                                                                                                                                                           5                                                        IV.
                                                                                                                                                           6               The Products: For many years, Defendants and/or their predecessors have manufactured,
                                                                                                                                                           7 sold, distributed, designed, formulated, developed standards for, prepared, processed, assembled,

                                                                                                                                                           8 tested, listed, certified, marketed, advertised, packaged and/or labeled, and/or otherwise placed
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                                                                                                                                                           9 into the stream of commerce products that contain asbestos, asbestiform fibers, and/or asbestiform
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                                                                                                                                                          10 talc.
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                                                                                                                                                          11                                                        V.
                                                                                                                                                          12               Knowledge of Asbestos Hazards: The following facts are illustrative, but not exhaustive,
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                                                                                                                                                          13 of the evolution of the knowledge of the health hazards of asbestos and what was known and

                                                                                                                                                          14 knowable to Defendants:

                                                                                                                                                          15               1.     Health hazards from asbestos exposure were identified in the 1890s. During
                                                                                                                                                                                  this time, the Lady Inspector of Factories in Great Britain noted that
                                                                                                                                                          16                      individuals working with asbestos were suffering various lung injuries.
                                                                                                                                                          17               2.     Defendants since the early 1900s possessed medical and scientific data that
                                                                                                                                                                                  raised concerns regarding the presence of asbestos in talcum powder and
                                                                                                                                                          18                      that demonstrated the existence of health hazards to those exposed to
                                                                                                                                                                                  asbestos-containing talcum powder products. Talc is a hydrous magnesium
                                                                                                                                                          19                      silicate, an inorganic material that is mined from the earth. Talc is used in
                                                                                                                                                                                  the manufacture of goods such as paper, plastic, paint and coatings, rubber,
                                                                                                                                                          20                      food, electric cable, ceramics, and cosmetics. In its loose form and as used
                                                                                                                                                                                  in consumer powder products, talc is known as “talcum powder.”
                                                                                                                                                          21
                                                                                                                                                                           3.     Geologists and mining companies, including Defendants, have long known
                                                                                                                                                          22                      that the deposits in the earth that are associated with talc are also associated
                                                                                                                                                                                  with the formation of asbestos. Asbestos is a commercial and legal term,
                                                                                                                                                          23                      rather than a geological or scientific term, referring to six now-regulated
                                                                                                                                                                                  magnesium silicate minerals that occur in fibrous form, including the
                                                                                                                                                          24                      serpentine mineral chrysotile, and the amphibole minerals actinolite,
                                                                                                                                                                                  anthophyllite, tremolite, amosite, and crocidolite. The United States
                                                                                                                                                          25                      Geological Survey on Commercial Talc production in 1965, as well as those
                                                                                                                                                                                  dating back to the 1800s in the United States, note the presence of tremolite,
                                                                                                                                                          26                      anthophyllite, and chrysotile commonly among those minerals found within
                                                                                                                                                                                  talc deposits.
                                                                                                                                                          27
                                                                                                                                                                           4.     As early as the 1920s, the term “asbestosis” was used to describe pulmonary
                                                                                                                                                          28                      fibrosis caused by asbestos exposure. Case reports in Great Britain and the

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                                                                                                                                                           1                     United States detailed asbestosis in various workers.

                                                                                                                                                           2               5.    By 1929, lawsuits for disability related to exposure to asbestos were filed
                                                                                                                                                                                 against Johns Manville.
                                                                                                                                                           3
                                                                                                                                                                           6.    In the late 1930s, case reports were published addressing the relationship
                                                                                                                                                           4                     between asbestos and cancer.

                                                                                                                                                           5               7.    Several reports, studies, and guidelines published as early as the 1930s,
                                                                                                                                                                                 including California’s Dust, Fumes, Vapors, and Gases Safety Orders, all
                                                                                                                                                           6                     recognized that asbestos is a dust which creates health hazards, and that
                                                                                                                                                                                 certain precautions are required to mitigate human exposure to dust. Such
                                                                                                                                                           7                     measures include, but are not limited to, using water to suppress the dust at
                                                                                                                                                                                 its source, as well as providing those who might be exposed to dust with
                                                                                                                                                           8                     adequate ventilation, showers, and changing facilities. These same measures
                                                                                                                                                                                 that were recommended to protect workers from asbestosis in the 1930s
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                                                                                                                                                           9                     would also have substantially reduced the risk that bystanders, household
                                                                                                                                                                                 members, and other persons would contract mesothelioma from inhaling
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                                                                                                                                                          10                     asbestos-containing dust that those who worked with and around asbestos
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                                                                                                                                                                                 and asbestos-containing products carried into their households on their
                                                                                                                                                          11                     person and personal effects. Defendants, and each of them, knew or should
                                                                                                                                                                                 have known that anyone, including household members of those who used
                                                                                                                                                          12                     asbestos-containing products were at risk of developing an asbestos-related
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                                                                                                                                                                                 disease after inhaling dust from such asbestos-containing products.
                                                                                                                                                          13
                                                                                                                                                                           8.    In 1931, the United Kingdom allowed workers to receive compensation for
                                                                                                                                                          14                     asbestosis.

                                                                                                                                                          15               9.    In March of 1933, Waldemar C. Dreesen of the United States Public Health
                                                                                                                                                                                 Service reported to the National Safety Council the results of a study
                                                                                                                                                          16                     conducted among tremolite, talc, and slate workers. The study indicated that
                                                                                                                                                                                 the talc was a hydrous calcium magnesium silicate, being 45 percent talc
                                                                                                                                                          17                     and 45 percent tremolite, and the National Safety Council stated, “[t]he
                                                                                                                                                                                 results of the study seemed to indicate a relationship between the amount of
                                                                                                                                                          18                     dust inhaled and the effect of this dust on the lungs of the workers.”

                                                                                                                                                          19               10.   As early as 1934, the National Safety Council was publishing information
                                                                                                                                                                                 stating that “a cause of severe pulmonary injury is asbestos, a silicate of
                                                                                                                                                          20                     magnesium.”

                                                                                                                                                          21               11.   In the September 1935 issue of National Safety News, an article entitled No
                                                                                                                                                                                 Halfway Measures in Dust Control by Arthur S. Johnson reported lowered
                                                                                                                                                          22                     lung capacity resulting from “asbestosis” and “similar conditions” that
                                                                                                                                                                                 developed “from exposure to excess of many mineral dusts relatively low in
                                                                                                                                                          23                     free silica content.” The article further noted that claims for disabilities from
                                                                                                                                                                                 workers who alleged exposure to “clay, talc, emery, and carborundum
                                                                                                                                                          24                     dusts” had “claims prosecuted successfully.” The article concluded that
                                                                                                                                                                                 “[i]n the absence of adequate diagnoses, occupational histories and a more
                                                                                                                                                          25                     satisfactory method of adjudicating claims than prosecution at common law,
                                                                                                                                                                                 we must conclude that it is necessary to find a practical method for
                                                                                                                                                          26                     controlling all mineral dusts.”
                                                                                                                                                          27               12.   In 1936, California’s Division of Industrial Safety issued Safety Orders
                                                                                                                                                                                 establishing the standard of care for work with asbestos.
                                                                                                                                                          28

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                                                                                                                                                           1               13.   Also in 1936, Illinois enacted legislation recognizing asbestosis as a
                                                                                                                                                                                 compensable occupational disease under its Occupational Disease Act.
                                                                                                                                                           2
                                                                                                                                                                           14.   By the 1940s, asbestos carcinogenicity was noted in reviews in fields of
                                                                                                                                                           3                     industrial medicine, cancer research, and pneumoconiosis.

                                                                                                                                                           4               15.   In 1946, the American Conference of Governmental Industrial Hygienists
                                                                                                                                                                                 established a maximum allowable concentration for occupational exposure.
                                                                                                                                                           5
                                                                                                                                                                           16.   During the 1940s and 1950s, asbestos hazards were discussed in popular
                                                                                                                                                           6                     magazines, including Scientific American (January 1949) and Newsweek
                                                                                                                                                                                 (May 15, 1950), as well as the Encyclopedia Britannica (1952). On April 7,
                                                                                                                                                           7                     1959, the Los Angeles Times and Wall Street Journal reported that
                                                                                                                                                                                 California health officials did additional research linking asbestos with
                                                                                                                                                           8                     cancer. Following a number of subsequent reports in the New York Times,
                                                                                                                                                                                 Paul Brodeur published a series of articles in the New Yorker.
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                                                                                                                                                           9
                                                                                                                                                                           17.   In addition, beginning in the 1940s and 1950s, it was recognized that
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                                                                                                                                                          10                     individuals who worked with asbestos materials, as well as those who did
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                                                                                                                                                                                 not work directly with asbestos products but only had relatively brief or
                                                                                                                                                          11                     intermittent exposures to asbestos products, could develop fatal asbestos
                                                                                                                                                                                 diseases.
                                                                                                                                                          12
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                                                                                                                                                                           18.   In 1955, Richard Doll published a study linking asbestos to lung cancer.
                                                                                                                                                          13
                                                                                                                                                                           19.   In 1960, Chris Wagner published a study linking asbestos to mesothelioma.
                                                                                                                                                          14
                                                                                                                                                                           20.   DEFENDANT JOHNSON & JOHNSON started selling Johnson’s Baby
                                                                                                                                                          15                     Powder in the late 1800s. As the parent company, JOHNSON & JOHNSON
                                                                                                                                                                                 made Johnson’s Baby Powder until 1978, when a new subsidiary
                                                                                                                                                          16                     corporation, Johnson & Johnson Consumer Inc., was formed. Both
                                                                                                                                                                                 JOHNSON & JOHNSON and Johnson & Johnson Consumer Inc. shared
                                                                                                                                                          17                     with each other all of their health-and-safety information about the talc
                                                                                                                                                                                 products. Throughout this Complaint, DEFENDANT JOHNSON &
                                                                                                                                                          18                     JOHNSON is referred to as “J&J.”

                                                                                                                                                          19               21.   In the 1950s and 1960s, J&J contracted with the Battelle Laboratory in Ohio
                                                                                                                                                                                 to examine its talc for the presence of dangerous minerals. Battelle reported
                                                                                                                                                          20                     back to J&J and William Ashton, a J&J managerial employee, that J&J’s
                                                                                                                                                                                 talc had tremolite, fibrous tremolite, and fibrous talc. J&J thus had
                                                                                                                                                          21                     knowledge for many decades that J&J’s talc was dangerous to breathe.

                                                                                                                                                          22               22.   In the early 1960s, Dr. Irving Selikoff engaged in studies of groups of
                                                                                                                                                                                 asbestos workers. By 1965, he had conducted various studies, published
                                                                                                                                                          23                     several articles, conducted special scientific symposia, been interviewed by
                                                                                                                                                                                 the New York Times, and organized the international conference on the
                                                                                                                                                          24                     “Biological Effects of Asbestos” under the auspices of the renowned New
                                                                                                                                                                                 York Academy of Sciences. The results of these presentations were
                                                                                                                                                          25                     published in Volume 132 of the Annals of the New York Academy of
                                                                                                                                                                                 Sciences published in 1965.
                                                                                                                                                          26
                                                                                                                                                                           23.   In 1966, J&J knew of published medical and scientific articles that warned
                                                                                                                                                          27                     it that breathing talc could lead to asphyxiation and death in infants. J&J
                                                                                                                                                                                 knew that this information could hurt its baby products franchise and chose
                                                                                                                                                          28                     not to warn about the dangers of breathing talc for many decades.

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                                                                                                                                                           1               24.   In 1968, a study presented at the American Industrial Hygiene Conference
                                                                                                                                                                                 and published in the American Industrial Hygiene Association Journal
                                                                                                                                                           2                     concluded that “[a]ll of the 22 talcum products analyzed have a...fiber
                                                                                                                                                                                 content...averaging 19%. The fibrous material was predominantly talc but
                                                                                                                                                           3                     contained minor amounts of tremolite, anthophyllite, and chrysotile as these
                                                                                                                                                                                 are often present in fibrous talc mineral deposits...Unknown significant
                                                                                                                                                           4                     amounts of such materials in products that may be used without precautions
                                                                                                                                                                                 may create an unsuspected problem.” [Cralley, L.J., et al., Fibrous and
                                                                                                                                                           5                     Mineral Content of Cosmetic Talcum Products, 29 Am. Ind. Hyg. Assoc. J.
                                                                                                                                                                                 350 (1968).]
                                                                                                                                                           6
                                                                                                                                                                           25.   In 1969, product-liability lawsuits were brought against asbestos
                                                                                                                                                           7                     manufacturers. Under the Walsh Healy Act, federal contractors with
                                                                                                                                                                                 contracts of more than $10,000 were required to adhere a workplace
                                                                                                                                                           8                     standard of no more than 12 fibers per cubic centimeter of air.
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                                                                                                                                                           9               26.   In April 1969, J&J medical doctor, Dr. Timothy Thompson, wrote that J&J
                                                                                                                                                                                 should consult the law department for potential litigation arising out of
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                                                                                                                                                          10                     breathing tremolite. This J&J medical doctor specifically discussed the risk
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                                                                                                                                                                                 of cancer and other diseases from inhalation of needle-like tremolite.
                                                                                                                                                          11
                                                                                                                                                                           27.   In 1970s, J&J knew of the risk of ovarian cancer and never warned
                                                                                                                                                          12                     regarding any type of cancer. Ovarian cancer occurs via inhalation and
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                                                                                                                                                                                 translocation of the asbestiform minerals in the body. J&J failed to warn of
                                                                                                                                                          13                     all cancer risks, including mesothelioma.

                                                                                                                                                          14               28.   In early 1970s, J&J submitted false information to the federal Food and
                                                                                                                                                                                 Drug Administration (“FDA”) claiming J&J’s products did not have
                                                                                                                                                          15                     asbestos in them when J&J had internal documents demonstrating its
                                                                                                                                                                                 submission was false. J&J and other companies jointly convinced the FDA
                                                                                                                                                          16                     to not regulate the issues of asbestos in talc. The FDA allowed the talc
                                                                                                                                                                                 industry to self-regulate regarding the health impact of breathing talc.
                                                                                                                                                          17
                                                                                                                                                                           29.   J&J claims to have had a facility since the early 1970s to retain samples of
                                                                                                                                                          18                     each batch of its talc for future analysis. J&J has destroyed those samples
                                                                                                                                                                                 and all underlying testing data including photographs, Transmission
                                                                                                                                                          19                     Electron Microscopy grids, Energy Dispersive X-ray Spectroscopy grids,
                                                                                                                                                                                 and Selected Area (Electron) Diffraction grids.
                                                                                                                                                          20
                                                                                                                                                                           30.   In the 1970s, J&J worked jointly with other companies, including members
                                                                                                                                                          21                     of the Cosmetic, Toiletry & Fragrance Association (“CTFA”), to adopt a
                                                                                                                                                                                 testing method that would not find the asbestos in their talc. That method,
                                                                                                                                                          22                     known as the J4-1, was adopted by the industry in 1976.

                                                                                                                                                          23               31.   In the 1970s, J&J misled physicians and nurses into believing that J&J’s
                                                                                                                                                                                 product was safe and falsely telling them in mailings that there was no
                                                                                                                                                          24                     asbestos in Johnson’s Baby Powder.

                                                                                                                                                          25               32.   In 1970, OSHA established the first Federal guidelines for workplace
                                                                                                                                                                                 asbestos exposure, which took effect in 1971. J&J management employees
                                                                                                                                                          26                     worked to keep fibrous talc and asbestiform minerals in their product from
                                                                                                                                                                                 being regulated by OSHA.
                                                                                                                                                          27
                                                                                                                                                                           33.   In 1971, J&J met with scientists at Mt. Sinai Hospital in New York who
                                                                                                                                                          28                     warned J&J of the risk of asbestos in its products and the risk of disease.

                                                                                                                                                               3152983.3                                             6
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                                                                                                                                                           1                     J&J knew that fibrous talc and asbestos from talc translocated through the
                                                                                                                                                                                 body after inhalation and were found in the ovaries of women.
                                                                                                                                                           2
                                                                                                                                                                           34.   In 1971, the Colorado School of Mines advised J&J managerial employee,
                                                                                                                                                           3                     Robert S. Russell, that there is fibrous tremolite and actinolite (asbestos),
                                                                                                                                                                                 and fibrous talc in J&J samples submitted to them. Later in the mid-1970s,
                                                                                                                                                           4                     J&J agents and employees, including Mr. Russell, obtained, with his
                                                                                                                                                                                 knowledge, used Johnson’s Baby Powder in a study on live babies, thereby
                                                                                                                                                           5                     exposing these babies to risk of disease.

                                                                                                                                                           6               35.   In 1972, the American Conference of Governmental Industrial Hygienists
                                                                                                                                                                                 listed asbestos as a carcinogen.
                                                                                                                                                           7
                                                                                                                                                                           36.   In 1974, J&J employee, Dr. Fuller, told the FDA that the risk of any harm
                                                                                                                                                           8                     would be reason to take J&J’s talcum powder off the market. Dr. Fuller and
                                                                                                                                                                                 J&J did not live up to their promise to the FDA and falsely reassured the
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                                                                                                                                                           9                     FDA for decades J&J’s product was safe.
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                                                                                                                                                          10               37.   A 1976 follow-up study conducted by researchers at Mt. Sinai concluded
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                                                                                                                                                                                 that “[t]he presence in these products of asbestiform anthophyllite and
                                                                                                                                                          11                     tremolite, chrysotile, and quartz indicates the need for a regulatory standard
                                                                                                                                                                                 for cosmetic talc...We also recommend that evaluation be made to
                                                                                                                                                          12                     determine the possible health hazards associated with the use of these
                                        A Professional Law Corporation




                                                                                                                                                                                 products.” [Rohl, A.N., et al., Consumer Talcums and Powders: Mineral
                                                                                                                                                          13                     and Chemical Characterization, 2 J. Toxicol. Environ. Health 255 (1976).]
                                                                                                                                                                                 The results of the Mount Sinai study were soon picked up and reported by
                                                                                                                                                          14                     both the New York Times and the Washington Post that same year. The
                                                                                                                                                                                 study and subsequent newspaper articles listed explicitly popular consumer
                                                                                                                                                          15                     cosmetic talcum powders as containing high percentages of asbestos.

                                                                                                                                                          16               38.   In the early 1970s, the FDA began an inquiry into whether to regulate and
                                                                                                                                                                                 require warnings on consumer talcum powder products. Defendants, who
                                                                                                                                                          17                     were part of an exclusive lobbying and advocacy group representing
                                                                                                                                                                                 companies engaged in the cosmetic products industry, repeatedly conspired
                                                                                                                                                          18                     and worked in concert to block efforts to label and warn consumers
                                                                                                                                                                                 regarding the dangers associated with cosmetic talcum powder products.
                                                                                                                                                          19
                                                                                                                                                                           39.   In the 1970s and 1980s, J&J employee, William Ashton, knowing that
                                                                                                                                                          20                     fibrous talc and asbestos was dangerous, worked to keep J&J’s product
                                                                                                                                                                                 from being subject to any industry standards, including joining the
                                                                                                                                                          21                     American Society for Testing and Materials, and insuring J&J’s product
                                                                                                                                                                                 would not be subject to scrutiny by the scientific community.
                                                                                                                                                          22
                                                                                                                                                                           40.   In the 1970s and 1980s, J&J continued to mislead the public by engaging in
                                                                                                                                                          23                     an anti-warning marketing campaign to tell consumers that J&J’s product
                                                                                                                                                                                 was “pure” and would “protect” the user of the product. The marketing
                                                                                                                                                          24                     campaign consisted of print, radio, and television advertisements to falsely
                                                                                                                                                                                 reassure the public about the safety of talc.
                                                                                                                                                          25
                                                                                                                                                                           41.   In 1983, Anthony and Mary Rose Gambino sued J&J for injuries
                                                                                                                                                          26                     Mr. Gambino sustained from his use of Johnson’s Baby Powder talc. J&J
                                                                                                                                                                                 did nothing to preserve evidence of the talc samples it was allegedly testing
                                                                                                                                                          27                     from the early 1980s forward.

                                                                                                                                                          28               42.   In 1991, J&J knew that Dr. Alice Blount published on the presence of

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                                                                                                                                                                                                      Complaint for Personal Injuries
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                                                                                                                                                           1                      asbestos in its Johnson’s Baby Powder. Dr. Blount told J&J several times in
                                                                                                                                                                                  the 1990s and yet J&J did nothing to warn Ms. Johnson or other end users
                                                                                                                                                           2                      of the dangerous associated with J&J’s product.

                                                                                                                                                           3               43.    J&J in the 1990s continued its pattern and practice of marketing talcum
                                                                                                                                                                                  powder as safe despite knowing of the “cancer linkage.” In 1992, J&J knew
                                                                                                                                                           4                      its major opportunities would be to market to minorities, but also knew the
                                                                                                                                                                                  major obstacles would be the inhalation risk and cancer linkage.
                                                                                                                                                           5
                                                                                                                                                                           44.    J&J were in charge of worldwide testing of talc to determine how much
                                                                                                                                                           6                      asbestos was in each talc. They created a testing scheme to appear like there
                                                                                                                                                                                  was no asbestos in their talc. However, they knew the testing methods used
                                                                                                                                                           7                      were inadequate and would not detect the asbestos in the talc.

                                                                                                                                                           8               45.    J&J engaged in a pattern and practice of not warning the public through
                                                                                                                                                                                  2018 when its Chief Executive Officer, Alex Gorsky, falsely told American
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                                                                                                                                                           9                      consumers that J&J’s talcum products have always been free of asbestos.
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                                                                                                                                                          10               All Defendants failed to place any warning on their products or ever disclose the fact that
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                                                                                                                                                          11 these products contained asbestos, asbestiform fibers, and/or asbestiform talc at any point, up to

                                                                                                                                                          12 and including present day, despite the clear hazard and direct information that their products did
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                                                                                                                                                          13 contain asbestos, asbestiform fibers, and asbestiform talc.

                                                                                                                                                          14                                                       VI.

                                                                                                                                                          15               Additional Allegations as to J&J: The following facts are illustrative, but not exhaustive,

                                                                                                                                                          16 of J&J’s wrongful conduct.

                                                                                                                                                          17               J&J knew that the needle-like shape of asbestos fibers, found in some talc deposits, makes

                                                                                                                                                          18 the fibers causative of mesothelioma. And J&J knew that babies inhaled the talc, at variable levels,

                                                                                                                                                          19 whenever Baby Powder was applied. J&J therefore understood that if its talc contained asbestos,

                                                                                                                                                          20 and if that fact were publicized, it would be bad for J&J’s business and reputation.

                                                                                                                                                          21               To avoid the risk of end-users’ asbestos exposures, J&J always had the option to use

                                                                                                                                                          22 cornstarch, instead of talc, as its Baby Powder’s active ingredient. However, J&J waited until 1980

                                                                                                                                                          23 to start selling a cornstarch version alongside the talc version. Thereafter, J&J advertised that its

                                                                                                                                                          24 cornstarch version was the “safest powder you can use on your baby.” J&J never warned anyone

                                                                                                                                                          25 about the asbestos content of its talc.

                                                                                                                                                          26               Despite admittedly knowing that its talc Baby Powder contained toxic asbestos from at
                                                                                                                                                          27 least the 1960s through the 2000s, J&J concealed or otherwise misrepresented that fact from its

                                                                                                                                                          28 products’ consumers, including Ms. Johnson. In part, J&J engaged in the following acts and

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                                                                                                                                                           1 omissions:

                                                                                                                                                           2               1.   J&J lied to the FDA about the presence of asbestos in the talc used in J&J’s
                                                                                                                                                                                products, including Johnson’s Baby Powder. J&J hid these results and, in
                                                                                                                                                           3                    some cases, asked that these results be altered or destroyed. For example, in
                                                                                                                                                                                January 1974, J&J’s managing agents Dr. R. Fuller, Dr. G. Hildick-Smith,
                                                                                                                                                           4                    and Dr. W. Nashed met with the FDA regarding “Talc/Asbestos.” In that
                                                                                                                                                                                meeting, J&J promoted its Johnson’s Baby Powder as the “best talc
                                                                                                                                                           5                    available,” despite knowing the talc’s asbestos content. J&J also falsely
                                                                                                                                                                                claimed to the FDA that “substantial asbestos can be allowed safely in a
                                                                                                                                                           6                    baby powder.” J&J further assured the FDA that, if studies showed that the
                                                                                                                                                                                talc was unsafe, J&J “will not hesitate to take it off the market.” J&J never
                                                                                                                                                           7                    took its Johnson’s Baby Powder off the market despite knowing that the
                                                                                                                                                                                product contained asbestos. J&J, itself and through the CTFA, also withheld
                                                                                                                                                           8                    original documents and reports identifying asbestos in its talc and talc-
                                                                                                                                                                                containing products, like Johnson’s Baby Powder, and instead falsely
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                                                                                                                                                           9                    reported to the FDA there was no asbestos. After providing this false
                                                                                                                                                                                information to the FDA, the CTFA, including J&J, met privately and
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                                                                                                                                                          10                    congratulated themselves on the “success” of the “presentations” to the
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                                                                                                                                                                                FDA, and agreed that they should not bind themselves to having to further
                                                                                                                                                          11                    update the FDA. Despite its admission that asbestos is a carcinogen, J&J
                                                                                                                                                                                never suggested—or revealed—to the FDA any asbestos in its Johnson’s
                                                                                                                                                          12                    Baby Powder or talc products, including the list of positive asbestos
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                                                                                                                                                                                findings in its talc ore, talc, and products throughout the decades.
                                                                                                                                                          13
                                                                                                                                                                           2.   In or around 1978, J&J and other members of the CTFA destroyed evidence
                                                                                                                                                          14                    showing positive findings of asbestos in round-robin testing of J&J and
                                                                                                                                                                                other manufacturers’ consumer talcum products for asbestos content. The
                                                                                                                                                          15                    FDA initially proposed regulating the cosmetic talc industry. However, J&J
                                                                                                                                                                                and other members of the CTFA contended that they should be able to self-
                                                                                                                                                          16                    regulate. As a result, the FDA had no authority to “go into [J&J’s] files”; it
                                                                                                                                                                                was up to J&J to voluntarily provide information to the FDA. Because the
                                                                                                                                                          17                    cosmetic talc industry was self-regulating, the CTFA rejected the FDA’s
                                                                                                                                                                                proposal to have CTFA disclose the results of CTFA’s respective periodic
                                                                                                                                                          18                    monitoring for asbestos. At J&J’s direction, the CTFA was instructed to
                                                                                                                                                                                “[d]estroy your copy of the table” containing the results of the CTFA Task
                                                                                                                                                          19                    Force on Round Robin Testing of Consumer Talcum Products for
                                                                                                                                                                                Asbestiform Amphibole Minerals.
                                                                                                                                                          20
                                                                                                                                                                           3.   J&J fraudulently labeled and advertised its Johnson’s Baby Powder as being
                                                                                                                                                          21                    pure and protective of health, and free of asbestos fibers. J&J maintained
                                                                                                                                                                                the trust of mothers and other consumers who used its Johnson’s Baby
                                                                                                                                                          22                    Powder products through print advertisements and other methods. In the
                                                                                                                                                                                1940s, J&J emphasized that doctors and nurses preferred Johnson’s Baby
                                                                                                                                                          23                    Powder because of its effectiveness and alleged purity. J&J described the
                                                                                                                                                                                product as the “purest.” J&J also directly promoted its baby powder to
                                                                                                                                                          24                    medical personnel. J&J provided samples for doctors to distribute. A 1965
                                                                                                                                                                                brochure for doctors claimed that the powder was safe and had medical
                                                                                                                                                          25                    benefits. The bottle itself even said, “Purest Protection.” Another version of
                                                                                                                                                                                the bottle said, “Good for baby, Good for you.” However, J&J well knew
                                                                                                                                                          26                    that its Johnson’s Baby Powder was not pure because it contained asbestos.
                                                                                                                                                                                J&J also knew that its Johnson’s Baby Powder provided no medical
                                                                                                                                                          27                    protection or any other medicinal value.

                                                                                                                                                          28               4.   J&J and its officers, directors, and managing agents including, but not

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                                                                                                                                                           1                      limited to, Bill Ashton, Dr. R. Fuller, Dr. Gavin Hildick-Smith, Dr. Al
                                                                                                                                                                                  Goudie, Dr. W. Nashed, and members of J&J’s Talc Advisory Group, kept
                                                                                                                                                           2                      from or otherwise misrepresented to the public test results showing the
                                                                                                                                                                                  presence of asbestos and asbestiform fibers in its talcum products, including
                                                                                                                                                           3                      Johnson’s Baby Powder. For example, in or around October 1972,
                                                                                                                                                                                  Dr. Nashed stated to Dr. Goudie that he “thought tremolite was mistakenly
                                                                                                                                                           4                      identified in view of similarity to Na [sodium] sesquicitrate!” Dr. Goudie
                                                                                                                                                                                  replied, “There are trace quantities present confirmed both by McCrone &
                                                                                                                                                           5                      Bill Ashton. Levels are extremely low but occasionally can be detected
                                                                                                                                                                                  optically. This is not new.” In or around June 1973, the University of
                                                                                                                                                           6                      Minnesota lab reported to J&J that its Shower to Shower talc powder
                                                                                                                                                                                  contained “1/100th of 1 percent asbestos,” as shown by electron
                                                                                                                                                           7                      microscopy, both in the material from J&J and from Dr. Lewin’s sample.
                                                                                                                                                                                  Shortly thereafter, J&J and the McCrone lab authored their own report in
                                                                                                                                                           8                      which they misquoted the University of Minnesota lab’s report by using
                                                                                                                                                                                  misleading ellipses that concealed the asbestos findings. In its November
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                                                                                                                                                           9                      1974 letter to a concerned consumer in California, J&J (i) falsely claimed
                                                                                                                                                                                  that it used only the “purest talc available,” (ii) described contrary articles
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                                                                                                                                                          10                      as “sensational and scary,” and (iii) claimed to be “highly ethical and
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                                                                                                                                                                                  responsible” because its products were safe.
                                                                                                                                                          11

                                                                                                                                                          12                                                       VII.
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                                                                                                                                                          13               The Exposures: Ms. Johnson was born on January 30, 1967. She was exposed to asbestos,

                                                                                                                                                          14 asbestiform fibers, and asbestiform talc through her and her family’s use of Johnson & Johnson

                                                                                                                                                          15 talc powder products. Ms. Johnson used and purchased Defendants’ talc powder products in

                                                                                                                                                          16 California and elsewhere. Ms. Johnson was exposed to Defendants’ asbestos, asbestiform fibers,

                                                                                                                                                          17 and asbestiform talc in California because Defendants (i) marketed and sold their talc products in

                                                                                                                                                          18 California, and (ii) engaged in asbestos-related conduct that occurred in California.

                                                                                                                                                          19                                                       VIII.

                                                                                                                                                          20               Venue: Venue is proper in Alameda County because certain Defendant(s) reside in

                                                                                                                                                          21 Alameda County. Specifically, Alameda County is the headquarters and principal place of

                                                                                                                                                          22 business of Defendants SAFEWAY INC. and THE VONS COMPANIES, INC.

                                                                                                                                                          23                                                       IX.

                                                                                                                                                          24               The Harm: Ms. Johnson has malignant mesothelioma caused by her exposures to

                                                                                                                                                          25 asbestos, asbestiform fibers, and asbestiform talc. The mesothelioma has caused, and will cause,

                                                                                                                                                          26 Ms. Johnson to experience physical pain, mental suffering, loss of enjoyment of life,
                                                                                                                                                          27 disfigurement, physical impairment, inconvenience, grief, anxiety, humiliation, emotional distress,

                                                                                                                                                          28 and other similar harm. And the mesothelioma will continue to inflict these harms on Ms. Johnson

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                                                                                                                                                           1 in the future, ceasing only when it causes her untimely death.

                                                                                                                                                           2               Plaintiff incorporates by reference all of the above-mentioned allegations to each of the

                                                                                                                                                           3 liability theories set forth below and reserve the right to conform this Complaint to proof later

                                                                                                                                                           4 ascertained.

                                                                                                                                                           5                   FIRST CAUSE OF ACTION FOR STRICT PRODUCTS LIABILITY

                                                                                                                                                           6                                                       I.

                                                                                                                                                           7               Design Defect: All Defendants, and the 1st through 100th Doe Defendants, have for many

                                                                                                                                                           8 years, manufactured, sold, distributed, designed, formulated, developed standards for, prepared,
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                                                                                                                                                           9 processed, assembled, tested, listed, certified, marketed, advertised, packaged and/or labeled,
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                                                                                                                                                          10 and/or otherwise placed into the stream of commerce, products containing asbestos, asbestiform
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                                                                                                                                                          11 fibers, and/or asbestiform talc. First, these Defendants’ products were defective and unsafe for

                                                                                                                                                          12 their intended purpose and foreseeable use in that when used, handled, mixed, or otherwise
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                                                                                                                                                          13 disturbed, said products would result in the release, and therefore inhalation, of hazardous and

                                                                                                                                                          14 dangerous asbestos fibers, asbestiform fibers, and/or asbestiform talc by exposed persons,

                                                                                                                                                          15 including Ms. Johnson. Second, each product did not perform as safely as an ordinary consumer

                                                                                                                                                          16 would have expected it to perform when used or misused in an intended or reasonably foreseeable

                                                                                                                                                          17 way, because each product caused hazardous asbestos, asbestiform fibers, and/or asbestiform talc

                                                                                                                                                          18 to become airborne. Third, Ms. Johnson developed mesothelioma. Fourth, each product’s failure

                                                                                                                                                          19 to perform safely was a substantial factor in causing Ms. Johnson’s mesothelioma.

                                                                                                                                                          20                                                       II.

                                                                                                                                                          21               Failure-to-Warn Defect: All Defendants, and the 1st through 100th Doe Defendants, are

                                                                                                                                                          22 strictly liable for their products’ failure-to-warn defects. First, these Defendants and/or their

                                                                                                                                                          23 predecessors have for many years, manufactured, sold, distributed, designed, formulated,

                                                                                                                                                          24 developed standards for, prepared, processed, assembled, tested, listed, certified, marketed,

                                                                                                                                                          25 advertised, packaged and/or labeled, and/or otherwise placed into the stream of commerce,

                                                                                                                                                          26 products containing asbestos, asbestiform fibers, and/or asbestiform talc. Second, each product
                                                                                                                                                          27 had potential risks that were known or knowable in light of the scientific and medical knowledge

                                                                                                                                                          28 that was generally accepted in the scientific community at the time of design, manufacture, label,

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                                                                                                                                                           1 distribution, and sale. Third, the potential risks presented a substantial danger when each product

                                                                                                                                                           2 was used or misused in an intended or reasonably foreseeable way, because each product caused

                                                                                                                                                           3 hazardous asbestos, asbestiform fibers, and/or asbestiform talc to become airborne. Fourth,

                                                                                                                                                           4 ordinary consumers would not have recognized the potential risks. Fifth, these Defendants failed

                                                                                                                                                           5 to adequately warn or instruct of the potential risks. Sixth, Ms. Johnson developed mesothelioma.

                                                                                                                                                           6 Seventh, the lack of sufficient warnings or instructions was a substantial factor in causing

                                                                                                                                                           7 Ms. Johnson’s mesothelioma.

                                                                                                                                                           8                           SECOND CAUSE OF ACTION FOR NEGLIGENCE
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                                                                                                                                                           9                                                     I.
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                                                                                                                                                          10               General Negligence: All Defendants, and the 1st through 100th Doe Defendants, are
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                                                                                                                                                          11 liable for their general negligence. First, Defendants failed to use reasonable care to prevent harm

                                                                                                                                                          12 to others, because they caused hazardous asbestos, asbestiform fibers, and/or asbestiform talc to
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                                                                                                                                                          13 become airborne. Second, Defendants unreasonably acted and failed to act. They acted in ways

                                                                                                                                                          14 that a reasonably careful person would not do in the same situation, and failed to act in ways that a

                                                                                                                                                          15 reasonably careful person would do in the same situation. Third, Ms. Johnson developed

                                                                                                                                                          16 mesothelioma. Fourth, each Defendant’s general negligence was a substantial factor in causing

                                                                                                                                                          17 Ms. Johnson’s mesothelioma.

                                                                                                                                                          18                                                     II.

                                                                                                                                                          19               Negligent Design, Manufacture, Supply, Testing, Packaging, and Labeling of

                                                                                                                                                          20 Products: All Defendants, and the 1st through 100th Doe Defendants, are liable for their

                                                                                                                                                          21 negligent design, manufacture, marketing, supply, testing, packaging, and labeling of products

                                                                                                                                                          22 containing asbestos, asbestiform fibers, and/or asbestiform talc. First, these Defendants designed,

                                                                                                                                                          23 manufactured, sold, distributed, formulated, developed standards for, prepared, processed,

                                                                                                                                                          24 assembled, tested, listed, certified, marketed, advertised, packaged and/or labeled, and/or

                                                                                                                                                          25 otherwise placed into the stream of commerce, products containing asbestos, asbestiform fibers,

                                                                                                                                                          26 and/or asbestiform talc. Second, these Defendants were negligent in manufacturing, selling,
                                                                                                                                                          27 distributing, developing standards for, processing, assembling, testing, certifying, marketing,

                                                                                                                                                          28 advertising, packaging and/or labeling, and/or otherwise placing into the stream of commerce,

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                                                                                                                                                           1 products containing asbestos, asbestiform fibers, and/or asbestiform talc because they caused

                                                                                                                                                           2 hazardous asbestos, asbestiform fibers, and asbestiform talc to become airborne. They failed to use

                                                                                                                                                           3 the amount of care that a reasonably careful person would use in similar circumstances to avoid

                                                                                                                                                           4 exposing others to a foreseeable risk of harm. Third, Ms. Johnson developed mesothelioma.

                                                                                                                                                           5 Fourth, each Defendant’s negligence was a substantial factor in causing Ms. Johnson’s

                                                                                                                                                           6 mesothelioma.

                                                                                                                                                           7                                                     III.

                                                                                                                                                           8               Negligent Failure to Warn about Products: All Defendants, and the 1st through 100th
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                                                                                                                                                           9 Doe Defendants, are liable for their negligent failure to warn about their products. First, these
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                                                                                                                                                          10 Defendants designed, manufactured, marketed, distributed, packaged, labeled, and sold products
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                                                                                                                                                          11 containing asbestos, asbestiform fibers, and/or asbestiform talc. Second, these Defendants knew or

                                                                                                                                                          12 reasonably should have known that each product was dangerous or was likely to be dangerous
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                                                                                                                                                          13 when used or misused in a reasonably foreseeable manner, because each product caused hazardous

                                                                                                                                                          14 asbestos, asbestiform fibers, and/or asbestiform talc to become airborne. Third, these Defendants

                                                                                                                                                          15 knew or reasonably should have known that users would not realize the danger. Fourth, these

                                                                                                                                                          16 Defendants failed to adequately warn of the danger or instruct on the safe use of each product.

                                                                                                                                                          17 Fifth, a reasonably careful person under the same or similar circumstances would have warned of

                                                                                                                                                          18 the danger or instructed on the safe use of each product. Sixth, Ms. Johnson developed

                                                                                                                                                          19 mesothelioma. Seventh, each Defendant’s negligent failure to warn or instruct was a substantial

                                                                                                                                                          20 factor in causing Ms. Johnson’s mesothelioma.

                                                                                                                                                          21                                                     IV.

                                                                                                                                                          22               Negligent Failure to Recall and Retrofit Products: All Defendants, and the 1st through

                                                                                                                                                          23 100th Doe Defendants, are liable for their negligent failure to recall and retrofit their products.

                                                                                                                                                          24 First, these Defendants designed, manufactured, marketed, distributed, packaged, labeled, and sold

                                                                                                                                                          25 products containing asbestos, asbestiform fibers, and/or asbestiform talc. Second, these

                                                                                                                                                          26 Defendants knew or reasonably should have known that each product was dangerous or was likely
                                                                                                                                                          27 to be dangerous when used in a reasonably foreseeable manner, because each product caused

                                                                                                                                                          28 hazardous asbestos, asbestiform fibers, and/or asbestiform talc to become airborne. Third, these

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                                                                                                                                                           1 Defendants became aware of this defect after each product was sold. Fourth, these Defendants

                                                                                                                                                           2 failed to recall and retrofit each product. Fifth, a reasonably careful person under the same or

                                                                                                                                                           3 similar circumstances would have recalled and retrofitted each product. Sixth, Ms. Johnson

                                                                                                                                                           4 developed mesothelioma. Seventh, each Defendant’s negligent failure to recall and retrofit each

                                                                                                                                                           5 product was a substantial factor in causing Ms. Johnson’s mesothelioma.

                                                                                                                                                           6                                 THIRD CAUSE OF ACTION FOR FRAUD

                                                                                                                                                           7                                                       I.

                                                                                                                                                           8               All Defendants, and the 1st through 100th Doe Defendants, are liable for fraud, including
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                                                                                                                                                           9 fraudulent misrepresentation, fraudulent concealment, conspiracy to commit fraudulent
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                                                                                                                                                          10 misrepresentation, and conspiracy to commit fraudulent concealment, as set forth herein.
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                                                                                                                                                          11                                                       II.

                                                                                                                                                          12               Fraudulent Misrepresentation: Defendants are liable for their fraudulent
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                                                                                                                                                          13 misrepresentations.

                                                                                                                                                          14               First, each Defendant, via its employees, agents, advertisements, or any other authorized

                                                                                                                                                          15 person or document, represented that certain facts were true when they were not. The specific

                                                                                                                                                          16 identities of these employees, agents, advertisements, or any other authorized person or document

                                                                                                                                                          17 are maintained in Defendants’ records. Such records remain in the exclusive control of Defendants

                                                                                                                                                          18 pursuant to their respective document-retention policies. While she does not currently know the

                                                                                                                                                          19 specific advertisements or names of the employees, agents, or any other authorized person who

                                                                                                                                                          20 made the representations, Plaintiff will have access to this information once discovery has

                                                                                                                                                          21 commenced and will be able to specifically name the advertisement as well as the employee,

                                                                                                                                                          22 agent, or any other authorized person.

                                                                                                                                                          23               Second, Defendants represented that the products they manufactured, supplied, or specified

                                                                                                                                                          24 for use were not hazardous to humans. These representations were made before and during the

                                                                                                                                                          25 years that Ms. Johnson and her family purchased and were exposed to asbestos from Defendants’

                                                                                                                                                          26 talc powder products. Such representations were made either directly to Ms. Johnson and her
                                                                                                                                                          27 family, or to a third party intending and reasonably expecting that the substance of those

                                                                                                                                                          28 representations would be repeated to Ms. Johnson and her family.

                                                                                                                                                               3152983.3                                                14
                                                                                                                                                                                                        Complaint for Personal Injuries
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                                                                                                                                                           1               Third, Defendants knew that the representations were false when they made them, or they

                                                                                                                                                           2 made the representations recklessly and without regard for their truth.

                                                                                                                                                           3               Fourth, Defendants intended that Ms. Johnson and her family, and/or the same class of

                                                                                                                                                           4 persons as Ms. Johnson and her family, rely on the representations or their substance.

                                                                                                                                                           5               Fifth, Ms. Johnson and her family reasonably relied on Defendants’ representations or the

                                                                                                                                                           6 substance of these representations.

                                                                                                                                                           7               Sixth, Ms. Johnson developed mesothelioma.

                                                                                                                                                           8               Seventh, Ms. Johnson and her family’s reliance on those representations was a substantial
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                                                                                                                                                           9 factor in causing Ms. Johnson’s mesothelioma.
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                                                                                                                                                          10                                                      III.
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                                                                                                                                                          11               Fraudulent Concealment (Nondisclosure): Defendants are liable for their fraudulent

                                                                                                                                                          12 concealment (nondisclosure).
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                                                                                                                                                          13               First, each of the Defendants made affirmative statements that were so misleading (e.g.,

                                                                                                                                                          14 misleading “half-truths”) that they gave rise to a fraud cause of action even in the absence of a

                                                                                                                                                          15 specific relationship or transaction as between Defendants and Ms. Johnson. Specifically,

                                                                                                                                                          16 Defendants stated that their products could be used safely while concealing they were in fact lethal

                                                                                                                                                          17 because they contain and release asbestos fibers, asbestiform fibers, and asbestiform talc.

                                                                                                                                                          18               Second, Defendants (i) had exclusive knowledge of material facts not known to

                                                                                                                                                          19 Ms. Johnson (as set forth above), (ii) actively concealed these material facts from Ms. Johnson,

                                                                                                                                                          20 (iii) made partial representations but also suppressed material facts, as set forth above, and

                                                                                                                                                          21 (iv) made factual representations, but did not disclose facts which materially qualified those

                                                                                                                                                          22 representations. Such nondisclosures included Defendants representing their products as safe when

                                                                                                                                                          23 used as intended and as fit for the particular purpose for which they were marketed, while not

                                                                                                                                                          24 disclosing the facts that these products contained asbestos, asbestiform fibers, and asbestiform talc

                                                                                                                                                          25 that would become airborne during the intended and foreseeable use of the products, rendering

                                                                                                                                                          26 them dangerous and unfit for their intended purpose.
                                                                                                                                                          27               Third, each Defendant entered into a relationship and/or a transaction with Ms. Johnson

                                                                                                                                                          28 sufficient to give rise to a duty to disclose. For example, Ms. Johnson used or otherwise

                                                                                                                                                               3152983.3                                             15
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                                                                                                                                                           1 encountered Defendants’ products that were purchased either directly from Defendants and

                                                                                                                                                           2 Defendants’ authorized dealer or supplier, or any other entity upon which Defendants derived a

                                                                                                                                                           3 direct monetary benefit directly from Ms. Johnson’s purchase and use of the products. As for

                                                                                                                                                           4 another example, Defendants directly advertised their products to those in California and

                                                                                                                                                           5 elsewhere, as a symbol of freshness, cleanliness, and purity. Defendants advertised and marketed

                                                                                                                                                           6 this product as the “purest protection,” the beacon of “freshness” and “comfort,” eliminating

                                                                                                                                                           7 friction on the skin, absorbing “excess wetness” helping keep skin feeling dry and comfortable,

                                                                                                                                                           8 and “clinically proven gentle and mild.” Defendants compelled men and women through
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                                                                                                                                                           9 advertisements to dust themselves with this product for a wide variety of reasons, including the
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                                                                                                                                                          10 elimination of odors. Defendants knew that users would use the talcum powder as a dry shampoo
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                                                                                                                                                          11 and it would release substantial asbestiform minerals into user’s breathing zone. Defendants

                                                                                                                                                          12 derived direct monetary benefit from these individuals’ use of these products because Ms. Johnson
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                                                                                                                                                          13 decided to use or purchase Defendants’ products.

                                                                                                                                                          14               Fourth, Ms. Johnson did not know of the concealed facts.

                                                                                                                                                          15               Fifth, Defendants intended to deceive Ms. Johnson by concealing the facts, and/or by

                                                                                                                                                          16 making certain representations without disclosing additional facts that would have materially

                                                                                                                                                          17 qualified those representations.

                                                                                                                                                          18               Sixth, had the omitted information been disclosed, Ms. Johnson reasonably would have

                                                                                                                                                          19 behaved differently.

                                                                                                                                                          20               Seventh, Ms. Johnson developed mesothelioma.

                                                                                                                                                          21               Eighth, each Defendant’s concealment was a substantial factor in causing Ms. Johnson’s

                                                                                                                                                          22 mesothelioma.

                                                                                                                                                          23                                                       IV.

                                                                                                                                                          24               Conspiracy to Commit Fraudulent Misrepresentation: Plaintiff hereby incorporates by

                                                                                                                                                          25 reference the allegations above in this Third Cause of Action as if fully stated herein.

                                                                                                                                                          26               Defendants are liable for their conspiracy to commit fraudulent misrepresentation. First,
                                                                                                                                                          27 Defendants were aware that their conspirators, which included all co-defendants and others,

                                                                                                                                                          28 planned to commit fraudulent misrepresentation against Ms. Johnson and her family, and/or the

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                                                                                                                                                                                                        Complaint for Personal Injuries
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                                                                                                                                                           1 same class of persons as Ms. Johnson and her family. Second, Defendants agreed with their

                                                                                                                                                           2 conspirators and intended that the fraudulent misrepresentation be committed. Third, Ms. Johnson

                                                                                                                                                           3 developed mesothelioma. Fourth, each Defendant’s participation in the conspiracy was a

                                                                                                                                                           4 substantial factor in causing Ms. Johnson’s mesothelioma.

                                                                                                                                                           5                                                      V.

                                                                                                                                                           6               Conspiracy to Commit Fraudulent Concealment (Nondisclosure): Plaintiff hereby

                                                                                                                                                           7 incorporates by reference the allegations above in this Third Cause of Action as if fully stated

                                                                                                                                                           8 herein. Defendants are liable for their conspiracy to commit fraudulent concealment. First,
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                                                                                                                                                           9 Defendants were aware that their conspirators, which included all co-defendants and others,
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                                                                                                                                                          10 planned to commit fraudulent concealment against Ms. Johnson and her family, and/or the same
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                                                                                                                                                          11 class of persons as Ms. Johnson and her family. Second, Defendants agreed with their conspirators

                                                                                                                                                          12 and intended that the fraudulent concealment be committed. Third, Ms. Johnson developed
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                                                                                                                                                          13 mesothelioma. Fourth, each Defendant’s participation in the conspiracy was a substantial factor in

                                                                                                                                                          14 causing Ms. Johnson’s mesothelioma.

                                                                                                                                                          15                                                      VI.

                                                                                                                                                          16               Knowledge of Hazards: At all times pertinent hereto, Defendants, including 1st through

                                                                                                                                                          17 100th Doe Defendants, owed Ms. Johnson a duty, as provided for in Civil Code sections 1708,

                                                                                                                                                          18 1709, and 1710, to abstain from injuring her person, property, or rights. In violation of that duty,

                                                                                                                                                          19 Defendants, and each of them, did do the acts and omissions, when a duty to act was imposed, as

                                                                                                                                                          20 set forth herein, thereby proximately causing injury to Ms. Johnson. Such acts and omissions

                                                                                                                                                          21 consisted of acts falling within Civil Code section 1710, and more specifically were

                                                                                                                                                          22 (i) suggestions of fact which were not true and which the Defendants did not believe to be true,

                                                                                                                                                          23 (ii) assertions of fact of that which was not true, which the Defendants had no reasonable ground

                                                                                                                                                          24 for believing it to be true, and (iii) the suppression of facts when a duty existed to disclose it, as

                                                                                                                                                          25 more fully set forth herein, and the violation of which as to any one such item gave rise to a cause

                                                                                                                                                          26 of action for violation of Ms. Johnson’s rights as provided for in the aforementioned code sections.
                                                                                                                                                          27               Defendants have known and possessed of the true facts (consisting of medical and

                                                                                                                                                          28 scientific data, and other knowledge) which clearly indicated that the materials and products

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                                                                                                                                                           1 referred to herein were and are hazardous to the health and safety of Ms. Johnson, and others

                                                                                                                                                           2 similarly situated. In addition to the allegations set forth in this Third Cause of Action, Defendants

                                                                                                                                                           3 engaged in the following acts and omissions:

                                                                                                                                                           4               1.   Did not label any of the aforementioned asbestos-containing materials and
                                                                                                                                                                                products as to the hazards of such materials and products to the health and
                                                                                                                                                           5                    safety of Ms. Johnson, and others in their position using these products
                                                                                                                                                                                when the knowledge of such hazards was existing and known to
                                                                                                                                                           6                    Defendants, and each of them, since 1924. By not labeling such materials as
                                                                                                                                                                                to their said hazards, Defendants, and each of them, caused to be suggested
                                                                                                                                                           7                    as a fact to Ms. Johnson that it was safe for her to use such materials, when
                                                                                                                                                                                in fact these things were not true and Defendants did not believe them to be
                                                                                                                                                           8                    true.
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                                                                                                                                                           9               2.   Suppressed information relating to the danger of using the aforementioned
                                                                                                                                                                                materials by requesting the suppression of information to Ms. Johnson and
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                                                                                                                                                          10                    the general public concerning the dangerous nature of the aforementioned
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                                                                                                                                                                                materials to all persons, including users, bystanders and household
                                                                                                                                                          11                    members, by not allowing such information to be disseminated in a manner
                                                                                                                                                                                which would give general notice to the public and knowledge of the
                                                                                                                                                          12                    hazardous nature thereof when Defendants were bound to disclose such
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                                                                                                                                                                                information.
                                                                                                                                                          13
                                                                                                                                                                           3.   Sold the aforementioned products and materials to the public, including
                                                                                                                                                          14                    Ms. Johnson, and others in California and other states without advising
                                                                                                                                                                                them of the dangers of use of such materials and to those persons’
                                                                                                                                                          15                    household members, when Defendants knew of such dangers, as set forth
                                                                                                                                                                                herein and above, and had a duty to disclose such dangers. Thus,
                                                                                                                                                          16                    Defendants caused to be positively asserted to Ms. Johnson, and the public
                                                                                                                                                                                that which was not true and which Defendants had no reasonable ground for
                                                                                                                                                          17                    believing it to be true, in a manner not warranted by the information
                                                                                                                                                                                possessed by said Defendants, and each of them, of that which was and is
                                                                                                                                                          18                    not true, to wit, that it was safe for Ms. Johnson to use such materials and
                                                                                                                                                                                that it did not pose a risk of harm.
                                                                                                                                                          19
                                                                                                                                                                           4.   Suppressed and continue to suppress from everyone, including
                                                                                                                                                          20                    Ms. Johnson, medical, scientific data, and knowledge of the accurate results
                                                                                                                                                                                of studies including, but not limited to, Waldemar C. Dreesen of the United
                                                                                                                                                          21                    States Public Health Service’s 1933 report to the National Safety Council
                                                                                                                                                                                the results of a study conducted among tremolite, talc and slate workers.
                                                                                                                                                          22                    The study indicated that the talc was a hydrous calcium magnesium silicate,
                                                                                                                                                                                being 45 percent talc and 45 percent tremolite, and the National Safety
                                                                                                                                                          23                    Council stated “[t]he results of the study seemed to indicate a relationship
                                                                                                                                                                                between the amount of dust inhaled and the effect of this dust on the lungs
                                                                                                                                                          24                    of the workers.” As early as 1934, the National Safety Council was
                                                                                                                                                                                publishing information stating that “a cause of severe pulmonary injury is
                                                                                                                                                          25                    asbestos, a silicate of magnesium.” In the September 1935 issue of National
                                                                                                                                                                                Safety News, an article entitled No Halfway Measures in Dust Control by
                                                                                                                                                          26                    Arthur S. Johnson reported lowered lung capacity resulting from
                                                                                                                                                                                “asbestosis” and “similar conditions” that developed “from exposure to
                                                                                                                                                          27                    excess of many mineral dusts relatively low in free silica content.” The
                                                                                                                                                                                article further noted that claims for disabilities from workers who alleged
                                                                                                                                                          28                    exposure to “clay, talc, emery, and carborundum dusts” had “claims

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                                                                                                                                                           1                    prosecuted successfully.” The article concluded that “[i]n the absence of
                                                                                                                                                                                adequate diagnoses, occupational histories and a more satisfactory method
                                                                                                                                                           2                    of adjudicating claims than prosecution at common law, we must conclude
                                                                                                                                                                                that it is necessary to find a practical method for controlling all mineral
                                                                                                                                                           3                    dusts.”

                                                                                                                                                           4               5.   Belonged to, participated in, and financially supported the Industrial
                                                                                                                                                                                Hygiene Foundation, Asbestos Information Association, the Asbestos
                                                                                                                                                           5                    Textile Institute (ATI), and other industry organizations, including the
                                                                                                                                                                                Cosmetic, Toiletry, and Fragrance Association (now known as the Personal
                                                                                                                                                           6                    Care Products Council), which actively promoted the suppression of
                                                                                                                                                                                information of danger to users of the aforementioned products and materials
                                                                                                                                                           7                    for and on behalf of Defendants, and each of them, thereby misleading
                                                                                                                                                                                Ms. Johnson to their prejudice through the suggestions and deceptions set
                                                                                                                                                           8                    forth above in this cause of action. ATI’s Dust Control Committee, which
                                                                                                                                                                                changed its name to the Air Hygiene Committee of ATI, was specifically
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                                                                                                                                                           9                    enjoined to study the subject of dust control; discussions in such committee
                                                                                                                                                                                were held many times of (i) the dangers inherent in asbestos and the dangers
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                                                                                                                                                          10                    which arise from the lack of control of dust and (ii) the suppression of such
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                                                                                                                                                                                information from 1946 to a date unknown to Ms. Johnson at this time.
                                                                                                                                                          11
                                                                                                                                                                           6.   Knew and possessed medical and scientific information of the connection
                                                                                                                                                          12                    between inhalation of asbestos fibers and asbestosis in 1930 with the study
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                                                                                                                                                                                of mine and mill workers at the Thetford asbestos mines in Quebec,
                                                                                                                                                          13                    Canada, and the study of workers at Raybestos-Manhattan plants in
                                                                                                                                                                                Manheim and Charleston, South Carolina. This information was
                                                                                                                                                          14                    disseminated through the ATI and other industry organizations to all other
                                                                                                                                                                                Defendants, and each of them, herein. Between 1942 and 1950, Defendants,
                                                                                                                                                          15                    and each of them, knew and possessed medical and scientific information of
                                                                                                                                                                                the connection between inhalation of asbestos fibers and cancer, which
                                                                                                                                                          16                    information was disseminated through the ATI and other industry
                                                                                                                                                                                organizations to all other Defendants herein. Thereby, Defendants
                                                                                                                                                          17                    suggested as fact that which is not true and disseminated other facts likely
                                                                                                                                                                                to and did mislead Ms. Johnson for want of communication of true facts,
                                                                                                                                                          18                    which consisted of the previously described medical and scientific data and
                                                                                                                                                                                other knowledge by not giving Ms. Johnson the true facts concerning such
                                                                                                                                                          19                    knowledge of danger, when Defendants were bound to disclose it.

                                                                                                                                                          20               7.   Failed to warn Ms. Johnson and others similarly situated regarding the
                                                                                                                                                                                nature of Defendants’ talcum products. In 1968, a study presented at the
                                                                                                                                                          21                    American Industrial Hygiene Conference and published in the American
                                                                                                                                                                                Industrial Hygiene Association Journal concluded that “[a]ll of the 22
                                                                                                                                                          22                    talcum products analyzed have a…fiber content…averaging 19%. The
                                                                                                                                                                                fibrous material was predominantly talc but contained minor amounts of
                                                                                                                                                          23                    tremolite, anthophyllite, and chrysotile as these are often present in fibrous
                                                                                                                                                                                talc mineral deposits…Unknown significant amounts of such materials in
                                                                                                                                                          24                    products that may be used without precautions may create an unsuspected
                                                                                                                                                                                problem.” [Cralley, L.J., et al., Fibrous and Mineral Content of Cosmetic
                                                                                                                                                          25                    Talcum Products, 29 Am. Ind. Hyg. Assoc. J. 350 (1968).] Defendants
                                                                                                                                                                                failed to warn Ms. Johnson and others similarly situated that their talcum
                                                                                                                                                          26                    products are, among other things, dangerous when breathed and causes
                                                                                                                                                                                pathological effects without noticeable trauma, although Defendants
                                                                                                                                                          27                    possessed knowledge that such material was dangerous and a threat to the
                                                                                                                                                                                health of persons coming into contact therewith and under a duty to disclose
                                                                                                                                                          28                    it.

                                                                                                                                                               3152983.3                                           19
                                                                                                                                                                                                     Complaint for Personal Injuries
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                                                                                                                                                           1               8.     Concealed from Ms. Johnson, and others similarly situated the true nature
                                                                                                                                                                                  of their exposure, the fact that Defendants knew that exposure to respirable
                                                                                                                                                           2                      asbestos meant that Ms. Johnson would inhale this asbestos, significantly
                                                                                                                                                                                  increasing her risk of developing asbestosis, lung cancer, and
                                                                                                                                                           3                      mesothelioma; that Ms. Johnson that had in fact been exposed to respirable
                                                                                                                                                                                  asbestos; that the materials to which Ms. Johnson was exposed would cause
                                                                                                                                                           4                      pathological effects in the human body without noticeable or perceptible
                                                                                                                                                                                  trauma to warn her of injury; and Defendants engaged in these acts and
                                                                                                                                                           5                      omissions while under a duty to and bound to disclose this information.

                                                                                                                                                           6               9.     Failed to provide information to the public at large and buyers, users and
                                                                                                                                                                                  physicians of Ms. Johnson for the purpose of conducting physical
                                                                                                                                                           7                      examinations of anyone whom came in contact with asbestos as to the true
                                                                                                                                                                                  nature of the hazards of asbestos, in order for such physicians to diagnose,
                                                                                                                                                           8                      and treat individuals coming into contact with asbestos, in that the materials
                                                                                                                                                                                  to which Ms. Johnson had been exposed would cause pathological effects
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                                                                                                                                                           9                      without noticeable trauma, even though Defendants were under a duty to
                                                                                                                                                                                  supply such information and such failure was and is likely to mislead
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                                                                                                                                                          10                      persons including Ms. Johnson as to the dangers and risk of harm to which
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                                                                                                                                                                                  they were exposed.
                                                                                                                                                          11
                                                                                                                                                                           10.    Affirmatively misrepresented that asbestos-containing products were safe to
                                                                                                                                                          12                      use and handle, when Defendants knew such statements were false when
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                                                                                                                                                                                  made, or made said false statements recklessly and without regard for
                                                                                                                                                          13                      whether the statements were true.

                                                                                                                                                          14               Each of the foregoing acts, suggestions, assertions, and forbearances to act when a duty

                                                                                                                                                          15 existed to act, the said Defendants, and each of them, having such knowledge, knowing

                                                                                                                                                          16 Ms. Johnson did not have such knowledge and would breathe such material innocently, was done

                                                                                                                                                          17 falsely and fraudulently and with full intent to induce Ms. Johnson to be present in a dangerous

                                                                                                                                                          18 environment and to cause her to remain unaware of the true facts, all in violation of Civil Code

                                                                                                                                                          19 section 1710.

                                                                                                                                                          20                                     BASIS FOR PUNITIVE DAMAGES

                                                                                                                                                          21               Malice, Oppression, or Fraud: Ms. Johnson hereby incorporates by reference the

                                                                                                                                                          22 allegations of all causes of action as if fully stated herein. Defendants, including 1st through 100th

                                                                                                                                                          23 Doe Defendants, are liable for punitive damages because they engaged in the conduct that caused

                                                                                                                                                          24 Ms. Johnson’s harm with malice, oppression, or fraud.

                                                                                                                                                          25               First, Defendants committed malice in that they acted with intent to harm when they

                                                                                                                                                          26 caused Ms. Johnson’s exposures to asbestos, asbestiform fibers, and/or asbestiform talc, and
                                                                                                                                                          27 because their conduct was despicable and was done with a willful and knowing disregard of the

                                                                                                                                                          28 rights and safety of others.

                                                                                                                                                               3152983.3                                              20
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  1               Second, Defendants committed oppression in that their conduct was despicable and

 2    subjected Ms. Johnson to cruel and unjust hardship in knowing disregard of her rights.

  3               Third, Defendants committed fraud in that they intentionally and fraudulently concealed

 4    and misrepresented material facts and did so intending to harm Ms. Johnson and with reckless

  5   disregard for whether their fraud would harm Ms. Johnson.

 6                The conduct of Defendants constituting malice, oppression, or fraud was committed,

 7    authorized, and adopted by one or more officers, directors, and managing agents within the

  8   corporate hierarchy of each Defendant, who acted on behalf of each Defendant.

                                               PRAYER FOR DAMAGES

                  Plaintiff prays for judgment for:

                  1.     All economic and non-economic compensatory damages in excess of $25,000;

                  2.     Punitive damages according to proof;

                  3.     Pre- and post-judgment interest;

                  4.     Costs of suit; and

                  5.      Such other relief as is fair, just, and equitable.

                                              DEMAND FOR JURY TRIAL

                  Plaintiff hereby demands a trial by jury on all issues so triable.



 19   DATED: June 15, 2022                             KAZAN, McCLAIN, SATTERLEY & GREENWOOD
                                                       A Professin .. ,.n.
20

21                                                     By:
22

23                                                     Attorneys for Plaintiff

24

25

26

27

28

      3152983.3                                                21
                                                 Complaint for Personal Injuries
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                       Exhibit                 B
                                                                                                                                                          POS-010
               Case 21-30589-MBK Doc 2739-2 Filed 07/19/22 Entered 07/19/22 FOR
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)
                                                                                 17:26:34      Desc
                                                                                   COURT USE ONLY
    Ian A. Rivamonte, Esq | SBN: Bar No.232663
                         Exhibit  EXHIBITS
    KAZAN,MCCLAIN,SATTERLEY & GREENWOOD        A-B TO SATTERLEY DECLARATION Page 24 of 36
    55 Harrison Street Suite 400 Oakland, CA 94607
   TELEPHONE NO.: (510) 302-1000 | FAX NO. (510) 835-4913 | E-MAIL ADDRESS
    ATTORNEY FOR (Name): Plaintiff: AUDRA JOHNSON



 Superior Court of California, County of Alameda
         STREET ADDRESS: 1225 FALLON STREET
         CITY AND ZIP CODE: OAKLAND,
                                   CA 94612
            BRANCH NAME: Rene C. Davidson Alameda County Courthouse


   PLAINTIFF/PETITIONER: AUDRA JOHNSON
                                                                                                               CASE NUMBER:
DEFENDANT/RESPONDENT: JOHNSON & JOHNSON, et al.
                                                                                                               22CV012814

                                                                                                               Ref. No. or File No.:
                                       PROOF OF SERVICE OF SUMMONS                                                                     Johnson
                                              (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
    a.    Summons
    b.    Complaint
    c.    Alternative Dispute Resolution (ADR) package
    d.    Civil Case Cover Sheet
    e.    Cross-Complaint
    f.    other (specify documents): CIVIL CASE COVER SHEET ADDENDUM; NOTICE OF OF CASE MANAGEMENT
          CONFERENCE; LETTER TO JUDGE LEE REGARDING COMPLAINT
3. a. Party served (specify name of party as shown on documents served):
    FOOT LOCKER SPECIALTY, INC., formerly known as F.W. WOOLWORTH CO.

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         CT Corporation System, Registered Agent by serving Sarai M. - Process Specialist & Authorized Agent
                         Age: 31-35 | Weight: 121-140 Lbs | Hair: Black | Sex: Female | Height: 5'7 - 6'0 | Eyes: Green | Race: Latino
4. Address where the party was served: 330 N Brand Blvd Ste 700
                                                     Glendale, CA 91203-2336
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 6/24/2022 (2) at (time): 9:30 AM
    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                            Page 1 of 2
Form Approved for Mandatory Use                                                                                                        Code of Civil Procedure, § 417.10
Judicial Council of California                              PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                               POS010-1/SF98579



                                                                                                                                                   EXHIBIT B
                 CaseAUDRA
          PETITIONER:  21-30589-MBK
                           JOHNSON               Doc 2739-2 Filed 07/19/22 Entered 07/19/22 17:26:34 Desc
                                                                                     CASE NUMBER:
                                  Exhibit EXHIBITS A-B TO SATTERLEY DECLARATION Page 2522CV012814
                                                                                                of 36
      RESPONDENT: JOHNSON & JOHNSON, et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of FOOT LOCKER SPECIALTY, INC., formerly known as F.W. WOOLWORTH CO.
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: Dion Jones - Nationwide Legal, LLC REG: 12-234648
   b. Address: 1625 Clay Street 4th Floor Oakland, CA 94612
   c. Telephone number: (510) 444-4690
   d. The fee for service was: $ .00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2013128925
                  (iii) County: Los Angeles

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 6/24/2022
                Nationwide Legal, LLC
                1625 Clay Street 4th Floor
                Oakland, CA 94612
                (510) 444-4690
                www.nationwideasap.com



                                     Dion Jones
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                             Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/SF98579
          Case 21-30589-MBK Doc 2739-2 Filed 07/19/22 Entered 07/19/22 17:26:34                                                            Desc
                 Exhibit EXHIBITS A-B TO SATTERLEY DECLARATION Page 26 of 36
                                                                                                                              POS-050/EFS-05Q
 ATTORNEY OR PARTY WITHOUT ATTORNEY:           STATE BAR NO   286 ,890                                          FOR COURT USE ONLY
NAME : JOSEPH D. SATTERLEY
FIRM NAME:KAZAN, McCLAIN, SATTERLEY & GREENWOOD , A Profesional Law Corp.
STREET ADDRESS: 55 Harrison Street , Suite 400
CITY: Oakland                                   STATE: CA ZIP CODE: 94607
TELEPHONE NO.: 510- 302-1000                   FAX NO. :
E -MAIL ADDRESS:
ATTORNEY FOR ( name):     PLAINTIFF
 SUPERIOR COURT OF CALIFORNIA , COUNTY OF ALAMEDA
  STREET ADDRESS:       1225 FALLON STREET
 MAILING ADDRESS:
CITY AND ZIP CODE:       Oakland, CA 94612
     BRANCH NAME:       Rene C. Davidson Courthouse                                              CASE NUMBER:

 PLAINTIFF/PETITIONER: AUDRA JOHNSON
                                                                                                 22CV012814

  DEFENDANT/RESPONDENT: JOHNSON & JOHNSON, ET AL.                                                JUDICIAL OFFICER:



                                                                                                 DEPARTMENT:
                                 PROOF OF ELECTRONIC SERVICE



1. I am at least 18 years old.
     a. My residence or business address is ( specify ):
        1609 JAMES M. WOOD BLVD. , LOS ANGELES, CA 90015



     b. My electronic service address is (specify ):
        NWLPROCESS @NATIONWIDELEGAL. COM


2. I electronically served the following documents (exact titles ):
   Summons; Complaint; Alternate Dispute ( ADR) Package; Civil Case Cover Sheet; Civil Case Cover Sheet Addendum; Notice of
   Case Management Conference; Letter to Judge Jo-Lynne Q. Lee


          [     ] The documents served are listed in an attachment . (Form POS-050( D)/EFS-050(D) may be used for this purpose. )

3. I electronically served the documents listed in 2 as follows:
   a. Name of person served: JOHNSON & JOHNSON
          On behalf of (name or names of parties represented, if person served is an attorney ):


     b. Electronic service address of person served :
        serviceofprocess@its.jnj. com
     c. On (date ): 6/28/2022

          l   x | The documents listed in item 2 were served electronically on the persons and in the manner described in an attachment .
                  ( Form POS-050(P)/EFS-050( P) may be used for this purpose . )




Date: 6/28/2022

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
                                                                                                                                         >
Anthony lavarone
                       ( TYPE OR PRINT NAME OF DECLARANT )                                         (SIGNATURE OF DECLARANT)


                                                                                                                                                Page 1 of 1


Form Approved for Optional Use                          PROOF OF ELECTRONIC SERVICE                                           Cal. Rules of Court, rule 2.251
Judicial Council of California                                                                                                           www.cour1s.ca. gov
                                 .
POS -050/EFS -050 [Rev. February 1 2017]         ( Proof of Service / Electronic Filing and Service )

                                                                                                                                            SF98578
_ATTORNEY OR PARTY WITHOUT ATTORNEY (Name State Bar number and address )
                        Case 21-30589-MBK Doc 2739-2 Filed 07/19/22 Entered 07/19/22FOR
   Ian A Rivamonte , Esq | SBN: Bar No. 232663
                                                                                     17:26:34
                               Exhibit EXHIBITS A-B TO SATTERLEY DECLARATION Page 27 of 36
                                                                                                    Desc
                                                                                        COURT USE ONLY

   KAZAN,MCCLAIN ,SATTERLEY & GREENWOOD
      55 Harrison Street Suite 400 Oakland, CA 94607
                                     -
      TELEPHONE NO ( 510) 302 1000 | FAX NO ( 510) 835 -4913 |E -MAIL AODRESS
       ATTORNEY FOR ( Name ) Plaintiff


    Superior Court of California , County of Alameda
        STREET ADDRESS 1225 FALLON STREET

       CITY AND ZIP CODE OAKLAND , CA 94612
           BRANCH NAME Rene C. Davidson Alameda County Courthouse


    PLAINTIFF/PETITIONER: AUDRA JOHNSON
                                                                                                                       CASE NUMBER
 DEFENDANT/RESPONDENT : JOHNSON & JOHNSON, et al.
                                                                                                                       22CV012814

                                                                                                                       Ref No or File No
                                             PROOF OF SERVICE OF SUMMONS                                                                   Johnson
                                                   ( Separate proof of service is required for each party served . )
1. At the time of service I was at least 18 years of age and not a party to this action.
2 I served copies of:
      a.O' Summons
      b.S' Complaint
      c 2f Alternative Dispute Resolution (ADR) package
       .[
      d E' Civil Case Cover Sheet
       .

      e.  Cross-Complaint
      f    Ef
          other ( specify documents ): CIVIL CASE COVER SHEET ADDENDUM; NOTICE OF CASE MANAGEMENT
          CONFERENCE ; LETTER TO JUDGE LEE REGARDING COMPLAINT
3 a . Party served ( specify name of party as shown on documents served ):
  .


  MAC FRUGAL’S BARGAINS . CLOSE-OUTS INC., formerly known as PIC ‘N’ SAVE CORPORATION

      b.   0” Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
               item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
           CSC Lawyers Inc., Registered Agent, by placing documents in a designated CSC basket - in the presence
           of Ikea ‘Doe ’ (names are not divulged), CSC Employee.
                           Age: 40 | Weight: 200 | Hair: Black | Sex : Female | Height: 6'6" | Eyes: N/A | Race: African American
4. Address where the party was served: 261 Little Falls Dr
                                                         Wilmington, DE 19808-1674
5. I served the party (check proper box )
   a. LyJ by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 6/27/ 2022 (2) at ( time ): 8:27 AM
      bD        by substituted service. On (date): at (time): I left the documents listed in item 2 with or
                in the presence of ( name and title or relationship to person indicated in item 3):

                (1)    E]       (business ) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                                person to be served. I informed him of her of the general nature of the papers.
                (2)    CH       ( home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                                abode of the party. I informed him or her of the general nature of the papers.
                ( 3)   ED       ( physical address unknown ) a person at least 18 years of age apparently in charge at the usual mailing
                                address of the person to be served, other than a United States Postal Service post office box. I informed him of
                                her of the general nature of the papers.
                (4)    CH       I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                                place where the copies were left (Code Civ . Proc., §415.20). I mailed the documents on
                                (date): from (city ):                                                or [] a declaration of mailing is attached.
                (5)             I attach a declaration of diligence stating actions taken first to attempt personal service .


                                                                                                                                                                Page 1 of 2
Form Approved for Mandatory Use                                                                                                            Code of Civil Procedure § 417 10
Judicial Council of California                               PROOF OF SERVICE OF SUMMONS
POS 0101Rev January 1 2007) .                                                                                                                    POS010-1/SF98580
                     Case
              PETITIONER    21-30589-MBK
                        : AUDRA JOHNSON                Doc 2739-2 Filed 07/19/22 Entered 07/19/22 17:26:34
                                                                                           CASE NUMBER :       Desc
                                        Exhibit EXHIBITS A-B TO SATTERLEY DECLARATION Page 2822of        36
                                                                                                      CV012814
          RESPONDENT: JOHNSON & JOHNSON, et al.


         c.   CH     by mall and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                     shown in item 4, by first-class mail, postage prepaid,
                     (1) on (date):                                          (2 ) from (city ):
                     (3)   EHwith two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                             ( Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                     (4)   dH
                            to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
      d.      C]     by other means (specify means of service and authorizing code section):


          Additional page describing service is attached.
6. The "Notice to the Person Served" (on the summons) was completed as follows:

     a.             as an individual defendant.
     b.   n         as the person sued under the fictitious name of (specify ):
     c. D           as occupant.
     d.       ET
          On behalf of MAC FRUGAL’S BARGAINS . CLOSE-OUTS INC., formerly known as PIC ‘N’ SAVE CORPORATION
                                _
                    under the following Code of Civil Procedure section:
                                    /

                                3        416.10 (corporation)                        415.95 (business organization, form unknown)
                                         416.20 (defunct corporation)                416.60 (minor)
                                ^
                                         416.30 (joint stock company/association)    416.70 (ward or conservatee)
                                         416.40 (association or partnership)         416.90 (authorized person)
                                3        416.50 (public entity)                      415.46 (occupant)
                                                                                     other:
7. Person who served papers
   a. Name: Selena Cabrera - Nationwide Legal, LLC REG: 12-234648
   b. Address: 1625 Clay Street 4th Floor Oakland, CA 94612
   c. Telephone number: (510) 444-4690
   d. The fee for service was: $ 343.00
   e. I am:

              (1)
              (2)
              (3)
                    _
                    2   not a registered California process server.
                        exempt from registration under Business and Professions Code section 22350(b).
                    LJ registered California process server:
                      (i)      owner                  employee              n
                                                                          independent contractor.
                      (ii) Registration No.:
                      (iii) County:

8.   Ef I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
               or
Q    I I       I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                    Date: 6/27/2022
                    Nationwide Legal, LLC
                    1625 Clay Street 4th Floor
                    Oakland, CA 94612
                    (510) 444-4690
                    www.nationwideasap.com



                                        Selena Cabrera
                        ( NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL )                                 ( SIGNATURE)




     -
POS 010 (Rev January 1, 2007]
                                                             PROOF OF SERVICE OF SUMMONS                                                    Page 2 of 2

                                                                                                                                    POS-010/SF98680
                                                                                                                                                          POS-010
               Case 21-30589-MBK Doc 2739-2 Filed 07/19/22 Entered 07/19/22 FOR
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)
                                                                                 17:26:34      Desc
                                                                                   COURT USE ONLY
    Ian A. Rivamonte, Esq | SBN: Bar No.232663
                         Exhibit  EXHIBITS
    KAZAN,MCCLAIN,SATTERLEY & GREENWOOD        A-B TO SATTERLEY DECLARATION Page 29 of 36
    55 Harrison Street Suite 400 Oakland, CA 94607
   TELEPHONE NO.: (510) 302-1000 | FAX NO. (510) 835-4913 | E-MAIL ADDRESS
    ATTORNEY FOR (Name): Plaintiff: AUDRA JOHNSON



 Superior Court of California, County of Alameda
         STREET ADDRESS: 1225 FALLON STREET
         CITY AND ZIP CODE: OAKLAND,
                                   CA 94612
            BRANCH NAME: Rene C. Davidson Alameda County Courthouse


   PLAINTIFF/PETITIONER: AUDRA JOHNSON
                                                                                                               CASE NUMBER:
DEFENDANT/RESPONDENT: JOHNSON & JOHNSON, et al.
                                                                                                               22CV012814

                                                                                                               Ref. No. or File No.:
                                       PROOF OF SERVICE OF SUMMONS                                                                     Johnson
                                              (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
    a.    Summons
    b.    Complaint
    c.    Alternative Dispute Resolution (ADR) package
    d.    Civil Case Cover Sheet
    e.    Cross-Complaint
    f.    other (specify documents): CIVIL CASE COVER SHEET ADDENDUM; NOTICE OF OF CASE MANAGEMENT
          CONFERENCE; LETTER TO JUDGE LEE REGARDING COMPLAINT
3. a. Party served (specify name of party as shown on documents served):
    RALPHS GROCERY COMPANY

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         CSC-Lawyers Incorporating Service, Registered Agent by serving Jean Bautista - Customer Service
         Liaison & Authorized Agent
                       Age: 27 | Weight: 190 Lbs. | Hair: Brown w/highlights | Sex: Female | Height: 5'6" | Eyes: Brown | Race: Asian
4. Address where the party was served: 2710 Gateway Oaks Dr Ste 150N
                                                     Sacramento, CA 95833-3502
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 6/24/2022 (2) at (time): 10:07 AM
    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.


                                                                                                                                                            Page 1 of 2
Form Approved for Mandatory Use                                                                                                        Code of Civil Procedure, § 417.10
Judicial Council of California                              PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                               POS010-1/SF98581
                 CaseAUDRA
          PETITIONER:  21-30589-MBK
                           JOHNSON               Doc 2739-2 Filed 07/19/22 Entered 07/19/22 17:26:34 Desc
                                                                                     CASE NUMBER:
                                  Exhibit EXHIBITS A-B TO SATTERLEY DECLARATION Page 3022CV012814
                                                                                                of 36
      RESPONDENT: JOHNSON & JOHNSON, et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of RALPHS GROCERY COMPANY
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: Douglas Fitzgerald - Nationwide Legal, LLC REG: 12-234648
   b. Address: 1625 Clay Street 4th Floor Oakland, CA 94612
   c. Telephone number: (510) 444-4690
   d. The fee for service was: $ .00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2021-03
                  (iii) County: Sacramento

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 6/24/2022
                Nationwide Legal, LLC
                1625 Clay Street 4th Floor
                Oakland, CA 94612
                (510) 444-4690
                www.nationwideasap.com



                                Douglas Fitzgerald
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                             Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/SF98581
                                                                                                                                                          POS-010
               Case 21-30589-MBK Doc 2739-2 Filed 07/19/22 Entered 07/19/22 FOR
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)
                                                                                 17:26:34      Desc
                                                                                   COURT USE ONLY
    Ian A. Rivamonte, Esq | SBN: Bar No.232663
                         Exhibit  EXHIBITS
    KAZAN,MCCLAIN,SATTERLEY & GREENWOOD        A-B TO SATTERLEY DECLARATION Page 31 of 36
    55 Harrison Street Suite 400 Oakland, CA 94607
   TELEPHONE NO.: (510) 302-1000 | FAX NO. (510) 835-4913 | E-MAIL ADDRESS
    ATTORNEY FOR (Name): Plaintiff: AUDRA JOHNSON



 Superior Court of California, County of Alameda
         STREET ADDRESS: 1225 FALLON STREET
         CITY AND ZIP CODE: OAKLAND,
                                   CA 94612
            BRANCH NAME: Rene C. Davidson Alameda County Courthouse


   PLAINTIFF/PETITIONER: AUDRA JOHNSON
                                                                                                               CASE NUMBER:
DEFENDANT/RESPONDENT: JOHNSON & JOHNSON, et al.
                                                                                                               22CV012814

                                                                                                               Ref. No. or File No.:
                                       PROOF OF SERVICE OF SUMMONS                                                                     Johnson
                                              (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
    a.    Summons
    b.    Complaint
    c.    Alternative Dispute Resolution (ADR) package
    d.    Civil Case Cover Sheet
    e.    Cross-Complaint
    f.    other (specify documents): CIVIL CASE COVER SHEET ADDENDUM; NOTICE OF CASE MANAGEMENT
          CONFERENCE; LETTER TO JUDGE LEE REGARDING COMPLAINT
3. a. Party served (specify name of party as shown on documents served):
    SAFEWAY INC., individually, and as successor-in-interest, parent, alter ego, and equitable trustee of
    THE VONS COMPANIES, INC.

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         CT Corporation System, Registered Agent by serving Daisy Montenegro - Process Specialist & Authorized
         Agent
                         Age: 31-35 | Weight: 181-200 Lbs | Hair: Black | Sex: Female | Height: 5'7 - 6'0 | Eyes: Brown | Race: Latino
4. Address where the party was served: 330 N Brand Blvd Ste 700
                                                     Glendale, CA 91203-2336
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 6/22/2022 (2) at (time): 12:30 PM
    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.

                                                                                                                                                            Page 1 of 2
Form Approved for Mandatory Use                                                                                                        Code of Civil Procedure, § 417.10
Judicial Council of California                              PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                               POS010-1/SF98270
                 CaseAUDRA
          PETITIONER:  21-30589-MBK
                           JOHNSON               Doc 2739-2 Filed 07/19/22 Entered 07/19/22 17:26:34 Desc
                                                                                     CASE NUMBER:
                                  Exhibit EXHIBITS A-B TO SATTERLEY DECLARATION Page 3222CV012814
                                                                                                of 36
      RESPONDENT: JOHNSON & JOHNSON, et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of SAFEWAY INC., individually, and as successor-in-interest, parent, alter ego, and equitable trustee
                of THE VONS COMPANIES, INC.
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: Dion Jones - Nationwide Legal, LLC REG: 12-234648
   b. Address: 1625 Clay Street 4th Floor Oakland, CA 94612
   c. Telephone number: (510) 444-4690
   d. The fee for service was: $ .00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)   V   registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2013128925
                  (iii) County: Los Angeles

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 6/22/2022
                Nationwide Legal, LLC
                1625 Clay Street 4th Floor
                Oakland, CA 94612
                (510) 444-4690
                www.nationwideasap.com

                                                                                                             )
                                     Dion Jones                                                           Zi
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                             Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/SF98270
                                                                                                                                                          POS-010
               Case 21-30589-MBK Doc 2739-2 Filed 07/19/22 Entered 07/19/22 FOR
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)
                                                                                 17:26:34      Desc
                                                                                   COURT USE ONLY
    Ian A. Rivamonte, Esq | SBN: Bar No.232663
                         Exhibit  EXHIBITS
    KAZAN,MCCLAIN,SATTERLEY & GREENWOOD        A-B TO SATTERLEY DECLARATION Page 33 of 36
    55 Harrison Street Suite 400 Oakland, CA 94607
   TELEPHONE NO.: (510) 302-1000 | FAX NO. (510) 835-4913 | E-MAIL ADDRESS
    ATTORNEY FOR (Name): Plaintiff: AUDRA JOHNSON



 Superior Court of California, County of Alameda
         STREET ADDRESS: 1225 FALLON STREET
         CITY AND ZIP CODE: OAKLAND,
                                   CA 94612
            BRANCH NAME: Rene C. Davidson Alameda County Courthouse


   PLAINTIFF/PETITIONER: AUDRA JOHNSON
                                                                                                               CASE NUMBER:
DEFENDANT/RESPONDENT: JOHNSON & JOHNSON, et al.
                                                                                                               22CV012814

                                                                                                               Ref. No. or File No.:
                                       PROOF OF SERVICE OF SUMMONS                                                                     Johnson
                                              (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
    a.    Summons
    b.    Complaint
    c.    Alternative Dispute Resolution (ADR) package
    d.    Civil Case Cover Sheet
    e.    Cross-Complaint
    f.    other (specify documents): CIVIL CASE COVER SHEET ADDENDUM; NOTICE OF OF CASE MANAGEMENT
          CONFERENCE; LETTER TO JUDGE LEE REGARDING COMPLAINT
3. a. Party served (specify name of party as shown on documents served):
    TARGET CORPORATION

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         CT Corporation System, Registered Agent by serving Sarai M. - Process Specialist & Authorized Agent
                         Age: 31-35 | Weight: 121-140 Lbs | Hair: Black | Sex: Female | Height: 5'7 - 6'0 | Eyes: Green | Race: Latino
4. Address where the party was served: 330 N Brand Blvd Ste 700
                                                     Glendale, CA 91203-2336
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 6/24/2022 (2) at (time): 9:30 AM
    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                            Page 1 of 2
Form Approved for Mandatory Use                                                                                                        Code of Civil Procedure, § 417.10
Judicial Council of California                              PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                               POS010-1/SF98582
                 CaseAUDRA
          PETITIONER:  21-30589-MBK
                           JOHNSON               Doc 2739-2 Filed 07/19/22 Entered 07/19/22 17:26:34 Desc
                                                                                     CASE NUMBER:
                                  Exhibit EXHIBITS A-B TO SATTERLEY DECLARATION Page 3422CV012814
                                                                                                of 36
      RESPONDENT: JOHNSON & JOHNSON, et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of TARGET CORPORATION
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: Dion Jones - Nationwide Legal, LLC REG: 12-234648
   b. Address: 1625 Clay Street 4th Floor Oakland, CA 94612
   c. Telephone number: (510) 444-4690
   d. The fee for service was: $ .00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2013128925
                  (iii) County: Los Angeles

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 6/24/2022
                Nationwide Legal, LLC
                1625 Clay Street 4th Floor
                Oakland, CA 94612
                (510) 444-4690
                www.nationwideasap.com



                                     Dion Jones
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                             Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/SF98582
                                                                                                                                                          POS-010
               Case 21-30589-MBK Doc 2739-2 Filed 07/19/22 Entered 07/19/22 FOR
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)
                                                                                 17:26:34      Desc
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    Ian A. Rivamonte, Esq | SBN: Bar No.232663
                         Exhibit  EXHIBITS
    KAZAN,MCCLAIN,SATTERLEY & GREENWOOD        A-B TO SATTERLEY DECLARATION Page 35 of 36
    55 Harrison Street Suite 400 Oakland, CA 94607
   TELEPHONE NO.: (510) 302-1000 | FAX NO. (510) 835-4913 | E-MAIL ADDRESS
    ATTORNEY FOR (Name): Plaintiff: AUDRA JOHNSON



 Superior Court of California, County of Alameda
         STREET ADDRESS: 1225 FALLON STREET
         CITY AND ZIP CODE: OAKLAND,
                                   CA 94612
            BRANCH NAME: Rene C. Davidson Alameda County Courthouse


   PLAINTIFF/PETITIONER: AUDRA JOHNSON
                                                                                                               CASE NUMBER:
DEFENDANT/RESPONDENT: JOHNSON & JOHNSON, et al.
                                                                                                               22CV012814

                                                                                                               Ref. No. or File No.:
                                       PROOF OF SERVICE OF SUMMONS                                                                     Johnson
                                              (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
    a.    Summons
    b.    Complaint
    c.    Alternative Dispute Resolution (ADR) package
    d.    Civil Case Cover Sheet
    e.    Cross-Complaint
    f.    other (specify documents): CIVIL CASE COVER SHEET ADDENDUM; NOTICE OF CASE MANAGEMENT
          CONFERENCE; LETTER TO JUDGE LEE REGARDING COMPLAINT
3. a. Party served (specify name of party as shown on documents served):
    THE VONS COMPANIES, INC.

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         CT Corporation System, Registered Agent by serving Daisy Montenegro - Process Specialist & Authorized
         Agent
                         Age: 31-35 | Weight: 181-200 Lbs | Hair: Black | Sex: Female | Height: 5'7 - 6'0 | Eyes: Brown | Race: Latino
4. Address where the party was served: 330 N Brand Blvd Ste 700
                                                     Glendale, CA 91203-2336
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 6/22/2022 (2) at (time): 12:30 PM
    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
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             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.


                                                                                                                                                            Page 1 of 2
Form Approved for Mandatory Use                                                                                                        Code of Civil Procedure, § 417.10
Judicial Council of California                              PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                               POS010-1/SF98272
                 CaseAUDRA
          PETITIONER:  21-30589-MBK
                           JOHNSON               Doc 2739-2 Filed 07/19/22 Entered 07/19/22 17:26:34 Desc
                                                                                     CASE NUMBER:
                                  Exhibit EXHIBITS A-B TO SATTERLEY DECLARATION Page 3622CV012814
                                                                                                of 36
      RESPONDENT: JOHNSON & JOHNSON, et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of THE VONS COMPANIES, INC.
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: Dion Jones - Nationwide Legal, LLC REG: 12-234648
   b. Address: 1625 Clay Street 4th Floor Oakland, CA 94612
   c. Telephone number: (510) 444-4690
   d. The fee for service was: $ .00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)   V   registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2013128925
                  (iii) County: Los Angeles

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 6/22/2022
                Nationwide Legal, LLC
                1625 Clay Street 4th Floor
                Oakland, CA 94612
                (510) 444-4690
                www.nationwideasap.com



                                                                                                             )
                                     Dion Jones                                                           Zi
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                             Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/SF98272
